                       Case 1:24-cv-03370-MKV Document 6 Filed 05/06/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

                                                                    )
           20230930-DK-BUTTERFLY-1, INC.,                           )
            f/k/a BED BATH & BEYOND INC.,                           )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 24-cv-3370 (JHR) (SN)
                                                                    )
                                                                    )
          HBC INVESTMENTS LLC and                                   )
     HUDSON BAY CAPITAL MANAGEMENT LP,                              )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Each Defendant set forth on Rider A hereto at the address below its name thereon.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           James A. Hunter, Esq.
                                           Law Office of James A. Hunter
                                           Four Tower Bridge
                                           200 Barr Harbor Drive, Suite 400
                                           West Conshohocken, Pennsylvania 19428

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

           05/06/2024                                                                     /S/ V. BRAHIMI
Date:
                                                                                         Signature of Clerk or Deputy Clerk
     Case 1:24-cv-03370-MKV Document 6 Filed 05/06/24 Page 2 of 2




                   Rider A to Summons in a Civil Action
         20230930-DK-Butterfly-1, Inc. v. HBC Investments LLC et al.,
           No. 24-cv-3370 (JHR) (SN) (S.D.N.Y. filed May 2, 2024)


1.     HBC Investments LLC
       28 Havemeyer Place, 2nd Floor
       Greenwich, Connecticut 06830

2.     Hudson Bay Capital Management LP
       28 Havemeyer Place, 2nd Floor
       Greenwich, Connecticut 06830
